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                                 District Judge Daybook Entry

         United States District Court - Southern District of West Virginia at Beckley
 Date:                    9/29/2023                                   Case Number:              5:23-cv-00625

 Case Style:              Mountain Valley Pipeline, LLC vs.
                          Tuhus/Abramoff

 Type of hearing:         Pre-Hearing

 Before the Honorable:    2517-Volk

 Court Reporter:          Lisa Cook                                   Courtroom Deputy:         Sydney Whittington

 Attorney(s) for the Plaintiff or Government:

 Timothy Miller, Austin Rogers

 Attorney(s) for the Defendant(s):

 William DePaulo

 Law Clerk:               Sarah Fox

 Probation Officer:


                                                           Court Times

Start Time                    End Time                     Court Time Description

12:21 PM                      12:33 PM                     Non-Trial Time/Uncontested Time


Time in court: 0 hours and 12 minutes. Non-Trial Time/Uncontested Time


                                                       Courtroom Notes
Scheduled Start 12:00
Actual Start 12:21 p.m.

Parties present for a preliminary injunction hearing.
Counsel note appearances on the record.
Court inquires and addresses the parties - changes hearing to pre-hearing.
Court to counsel: Meet at earliest possible occasion to provide to the Court the earliest date possible as to a prelim injunction
hearing and also a listing of any stipulations or time saving measures as to exhibits the parties are willing to enter into jointly.
To Mr. DePaulo: provide written waivers of presence by clients if approved.
Court recessed at 12:33 p.m.
